IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

Koss Saundr:. 6,

(Write the full name of each plaintiff who is filing
this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

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Vege, Ham RK

Chagares, Marlee EE

(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

Complaint for a Civil Case

Case No.

(to be filled in by the Clerk’s Office)

REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury. Ps i Noy

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I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Saundye- _Kenee Ki, USS
Street Address lQ3/9_e&, 3BG% Terviee

City and County Kpnesid Coty TatKsor)
State and ZipCode _ MQ), Lf (33

Telephone Number _ S/ - 382 - 5030

E-mail Address

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name Awa K. Vogel

Job or Title Wnts ‘As ott Ct

(if known)

Street Address x V0 2, d, eVrey/ Lrave-

City and County bel- nor J Lotus lasuty

State and Zip Code /Y] D . 63 l A
Telephone Number Set -226- 9¢03
E-mail Address _ A (NA. V0 GEL SEAT, (om

Gif known)
Defendant No. 2
Name @ Macy E, Chiagures
Job or Title View Presiclent-”
(if known)
Street Address 230 q_ Xnvier Couwt-t-
City and County Mapervi lle ‘d KPag e Coast
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State and Zip Code [ L b W565

Telephone Number b30 —41 b -3 44 2.

E-mail Address
(if known)

II. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only three
types of cases can be heard in federal court. Provide the designated information for this
type of case. (Check all that apply)

& Federal question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

|] Suit against the Federal Government, a federal official, or a federal agency

List the federal officials or federal agencies involved, if any.

| _|Diversity of Citizenship

These are cases in which a citizen of one State sues a citizen of another State or nation
and the amount at stake is more than $75,000. Ina diversity of citizenship case, no
defendant may be a citizen of the same State as any plaintiff.

A. The Plaintiff(s)

The plaintiff, (name) , is a citizen of the State
of (name)

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

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B. The Defendant(s)

1.

If the defendant is an individual

The defendant, (name) , is a citizen of
the State of (name) . Or is a citizen of
(foreign nation)

If the defendant is a corporation

The defendant, (name) Nora der! sile dba & ve-4 Lor Lael

incorporated under the laws of the State of (name)

(i $504 , and has its principal place of
business in the State of (name) Mu SiSOnet . Oris
incorporated under the laws of (foreign nation)

, and has its principal place of
business in (name) _YN1$ Stuy

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

C. The Amount in Controversy Bnet 0,000 Sever hund, rat frtry Thosinge!

The amount in controversy----the amount the plaintiff(s) claims the
defendant(s) owes or the amount at stake----is more than $75,000, not

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ting interest and costs of court, because (explain):

\Qjov0 1 usr meds Case, 200 pyp-futweM ected

Csr, 4400, vp Paar Sublerring HO uaitive Mmuarey

Ili. Statement of Claim

Write a short and plain statement of FACTS that support your claim. Do not make legal
arguments. You must include the following information:

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° What injuries
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* Where did Penieye yea ke harms wun,
Abpmiumayedy ns ee Tho Ste inTht “a produce Seon *

* When did the events you have desorbed take place?
Ar Appa prey 7pm on oct le, 2011)
If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

° How were the wien | Moe in what ha agpened te to you? The d|
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IV. Relief

State briefly and precisely what damages or other relief you want from the Court. Do not
make legal arguments.

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Clened Aime op Pp? you claim the wrongs alleged in he complaint are 2 iva whe to occur at the present ated
stmt Se ves] Nol]
(5.An NM) me alragerhor Do you claim actual damages for the acts alleged in your complaint?

vesQ]_ No[_]

Do you claim punitive monetary damages?

vesPq Nof_]

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If you indicated that you claim actual damages or punitive monetary damages, state the amounts
claimed and the reasons you claim you are entitled to recover these damages.

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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an

improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the

cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for

extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support

after a reasonable opportunity for further investigation or discovery; and (4) the

complaint otherwise complies with the requirements of Rule 11.

I agree to provide the Clerk’ s Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with
the Clerk’ s Office may result in the dismissal of my case.

Date of signing: (tt, u , 201

Signature of Plaintiff
Printed Name of Plaintiff

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